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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JACQUELINE STEVENS,                             )
                                                )
                      Plaintiff,                )
                                                )
               v.                               )   No. 17 C 2853
                                                )
U.S. IMMIGRATION AND CUSTOMS                    )   Judge Rebecca R. Pallmeyer
ENFORCEMENT,                                    )
                                                )
                      Defendant.                )

                                            ORDER

       For the reasons explained here, the government’s motion for summary judgment [19] is

stricken without prejudice for refiling after completion of an additional Vaughn index, to be

submitted within 21 days.

                                         STATEMENT

       Plaintiff Jacqueline Stevens is a professor of political science and director of a

“Deportation Research Clinic” at Northwestern University. (Compl. [1] ¶ 4.) On February 13,

2017, Stevens submitted, via e-mail, a request “To Whom it May Concern” at U.S. Immigration

and Customs Enforcement (“ICE”) for “all correspondence on the detention or removal

proceedings for people claiming or proving U.S. citizenship since January 1, 2017.” (Def.’s 56.1

[20] ¶ 15.) ICE replied on March 16, 2017, explaining in an e-mail that it was “working through” a

“backlog” of FOIA requests and had not yet assigned a tracking number to Stevens’ request.

(FOIA Req., Ex. 1 to Compl.) One month later, on April 14, 2017, Stevens filed this suit, alleging

that ICE’s delay amounted to a constructive denial of her request. (Compl. ¶ 18.) ICE has

admitted in its answer that it failed to comply with the statutory time limits set out in 5 U.S.C.

§ 552(a)(6), but denies that its delay lacked “legal basis” and asks that the case be dismissed.

(Answer [8] ¶¶ 18, 21.)
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       In the meantime, while the case was pending, ICE began processing Stevens’ request.

The ICE Office of the Principal Legal Advisor (“OPLA”) and Enforcement Removal Operations

(“ERO”) began to search for and produce responsive records. (Def.’s 56.1 ¶ 17.) In May 2017,

OPLA tendered 6,042 pages of responsive documents to ICE’s FOIA office.               That office

determined that the documents contained “sensitive and/or privileged information.” 1 (Id. ¶¶ 19,

21); (Keenan Decl. ¶ 40, Ex. A to Def.’s 56.1.) The ICE FOIA office redacted portions and began

producing the documents to Stevens. (Def.’s 56.1 ¶ 22); (Keenan Decl. ¶ 11.) In its first wave of

production, ICE inadvertently excluded a significant number of records that were referenced as

“attachments” to the documents it did produce. (Keenan Decl. ¶ 12.) Stevens’ attorney requested

these records on November 2, 2017, and ICE produced them in an additional wave between

January 23, 2018 and April 23, 2018. (Id. ¶ 13.) In total, ICE has produced 5,121 pages of

records to Stevens, 4,841 of them partially redacted, and 280 of them produced without

redactions. (Id. ¶ 40.) Additionally, 922 pages of records were withheld, including 158 pages

withheld as duplicates and 17 pages that ICE “referred to other agencies for processing and

release.” (Id.)

       Evidently deeming this production complete, ICE moved for summary judgment on

April 30, 2018, asserting that it had conducted an adequate search for responsive records and

that no information was improperly withheld from Stevens. (Mem. Supp. Def. Mot. Summ. J. [21]

[hereinafter “Def. MSJ”].) Pursuant to Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973), ICE

concurrently filed an index setting out the bases for its redactions in a representative sample of

documents. (Keenan Decl. ¶ 37.) By agreement of both parties, the sample includes the first 150

pages of each of the two productions, totaling 300 pages. (Id.) Included within this sample are

three types of documents: (1) “emails between ICE employees and other federal agency



       1       ERO concluded that it did not possess any responsive documents that differed
from those collected by OPLA, and did not submit any records to the ICE FOIA office. (Def. 56.1
Statement [20], at ¶ 20.

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employees,” (2) “draft versions of legal memos created by ICE attorneys, which contain their legal

evaluations, write-ups, and commentary on USC [United States citizenship] claims,” and (3)

“communications via email between ICE attorneys and/or ICE officers and agents.” (Vaughn

Index, Ex. 1 to Keenan Decl.) According to the Vaughn index, the contents of these documents

were partially withheld in accordance with FOIA exemption b(5), and personal information therein

was further redacted in accordance with exemptions b(6) and b(7)(C). (Id. at 2-3).

       Exemption b(5) applies to inter-agency memoranda that “would not be available by law to

a party other than an agency in litigation with the agency.” 5 U.S.C. § 552 (b)(5). This exemption

incorporates, inter alia, the attorney work product privilege, the attorney-client privilege, and the

deliberative process privilege. Baker & Hostetler LLP v. U.S. Dep't of Commerce, 473 F.3d 312,

321 (D.C. Cir. 2006). Exemption b(6) applies to files that, if disclosed, “would constitute a clearly

unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(6). And exemption b(7)(C) applies

to law enforcement records that, if produced, “could reasonably be expected to constitute an

unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(7).

       ICE contends that every page included in the Vaughn index was properly withheld under

these exemptions, and Stevens does not contest that assertion. Instead, Stevens argues that

ICE improperly withheld the contents of documents that were not accounted for in the Vaughn

index: specifically, “finalized USC Claims Memos.”         (Mem. Supp. Pl. Mot. Summ. J. [29]

[hereinafter “Pl. MSJ”].) Stevens submitted to the court 115 pages of records she believes to be

finalized USC Claims Memos, the contents of which are almost entirely withheld, save for the

names of the drafters and recipients, and subject lines that read “Claim to United States

Citizenship.” (Ex. C. to Stevens Decl. [30].) The reason that these documents are not accounted

for in the Vaughn index, Stevens acknowledges, is that when the parties agreed on a sampling of

documents to be used, none of the finalized USC Claims Memos were included. Stevens

nevertheless argues that because these documents have not yet been accounted for, the court



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should deny summary judgment as to them or, in the alternative, order ICE to submit a

supplemental Vaughn index.

       In its Reply, ICE argues that two of the exemptions it relied on in withholding the contents

of draft memoranda—the attorney work product privilege and the attorney-client privilege—apply

with equal force to finalized memoranda. But ICE does not meaningfully engage with Stevens’

request for a supplemental Vaughn index. It mentions the index only once in its Reply, concluding

at the end of one paragraph that “the Vaughn index that ICE prepared in this case . . . fully explains

the withholdings made to the ‘finalized’ citizenship memoranda Stevens references in her

response.” (Reply Supp. Def. Mot. Summ. J. [35] [hereinafter “Def. Reply”] at 4.) This conclusion,

to the extent that it responds to Stevens’ request for supplemental index, does not flow logically

from the rest of the paragraph, which argues only the merits of ICE’s withholdings rather than the

requirements of Vaughn.

       The purpose of a Vaughn index is to assist the court in reviewing a defendant’s claim that

certain documents are exempt from disclosure under FOIA. Vaughn, 484 F.2d at 827. It typically

takes the form of a detailed, cross-referenced index to specific withheld documents or portions of

documents, and the specific exemption claims associated with those documents. Id. The

production of a Vaughn index is essential not only to the court’s understanding of the defendant’s

claims, but also to the plaintiff’s ability to meaningfully contest those claims. King v. U.S. Dep’t of

Justice, 830 F.2d 210, 218 (D.C. Cir. 1987). Moreover, the practice of requiring a Vaughn index

is intended to counteract the tendency of federal agencies to claim the broadest possible grounds

for exemption for the greatest amount of information. Vaughn, 484 F.2d at 826. It has been

described as “critical to effective enforcement of FOIA.” Founding Church of Scientology of

Washington, D.C., Inc. v. Bell, 603 F.2d 945, 947 (1979).

       On this record, it appears that ICE’s index does not describe or identify finalized USC

Claims memos with sufficient specificity to accord with Vaughn. “Specificity is the defining

requirement of the Vaughn index and affidavit.” King, 830 F.2d at 219. The D.C. Circuit has held

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that, at minimum, an agency must “provide ‘a relatively detailed justification, specifically identifying

the reasons why a particular exemption is relevant and correlating those claims with the particular

part of a withheld document to which they apply.” Id. (quoting Mead Data Cent., Inc. v. U.S. Dep't

of Air Force, 566 F.2d 242, 251 (D.C. Cir. 1977)). This justification must be sufficient to “enable

‘the District Court to make a rational decision whether the withheld material must be produced

without actually viewing the documents themselves, as well as to produce a record that will render

the District Court’s decision capable of meaningful review on appeal.’” Id. (quoting Dellums v.

Powell, 642 F.2d 1351, 1360 (D.C. Cir. 1980)).           “Although the Court does not expect an

exhaustive, line-by-line description of the requested file, it must have a sufficient sense of what

kinds of documents are contained in the file in order to evaluate the application of the enumerated

exemptions.” Santos v. DEA, 357 F. Supp. 2d 33, 38 (D.D.C. 2004). A government agency thus

cannot meet its burden if its supporting affidavit “neither gives a functional description of the

contents of the file nor an identification of any document or group of documents.” Id.

       ICE’s production does not meet this standard with regard to finalized USC Claims memos.

Its index refers only to “draft versions of legal memos,” making no reference at all to finalized

memoranda. (Vaughn Index at 3.) Its supporting affidavits, meanwhile, also do not directly extend

the index’s justifications to finalized memoranda. Instead, the first declaration refers only briefly

to the existence of finalized memoranda, noting that “[o]nce a final decision is rendered [regarding

a citizenship claim], a copy of the memorandum is finalized.” (Keenan Decl. ¶ 25); see also (Def.

MSJ at 2.) It does not explain how, if at all, “finalizing” a memorandum affects the characteristics

relevant to determining whether the documents are exempt under FOIA.                    ICE’s second

declaration includes a paragraph that reads, in its entirety, “The Vaughn index prepared in this

case to describe the redactions and applicable exemptions in the records released to Stevens

fully explains the withholdings in the ‘finalized’ citizenship memoranda Stevens identifies in her

response.” (Pineiro Decl. ¶ 17, Ex. A. to Def. Reply.) This contention is not substantiated by any

meaningful discussion of the finalized memoranda as distinct from their draft counterparts. ICE

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has not even clarified how many pages of finalized memoranda have been withheld or identified

those memoranda in any way. These omissions prevent the court from “determin[ing] whether

nondisclosure is justified or whether any of the information is segregable.” Santos, 357 F. Supp

2d. at 33.

       ICE’s Reply brief has not addressed its withholdings from the finalized memos. Though

the government may view it as a formality, the requirement of a Vaughn index is not excused by

the argument that withholdings are proper, because the court requires a Vaughn index in order to

evaluate those arguments. The court therefore directs that within 21 days, ICE prepare a

supplemental Vaughn index and affidavit that specifically address finalized USC claims memos.

Following that submission, both parties will be free to submit supplemental briefing on the

adequacy of the justifications asserted therein.

                                             ENTER:




Dated: February 20, 2019                     _________________________________________
                                             REBECCA R. PALLMEYER
                                             United States District Judge




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